        Case 1:23-cv-09090-VEC                Document 21   Filed 01/10/24 Page 1 of 2
                                                                          USDC SDNY
                                                                          DOCUMENT
                                                                          ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                              DOC #:
SOUTHERN DISTRICT OF NEW YORK                                             DATE FILED: 1/10/2024
-----------------------------------------------------X
CLAUDIO DAREZZO,

                                            Plaintiff,
                                                                   ORDER TO SHOW CAUSE
                      -against-                                    FOR ENTRY OF DEFAULT
                                                                        JUDGEMENT
RECREATIONAL PLUS LEV INC. AND
84 HOYT LLC,
                                                                         1:23-cv-09090-VEC
                                             Defendants.
-----------------------------------------------------X

        Upon the affirmation of Bradly G. Marks, Esq. and upon the exhibits hereto attached,

        IT IS HEREBY ORDERED that Defendant, Recreational Plus Lev Inc. show cause before

the Honorable Valerie E. Caproni in Courtroom 443, United States District Court for the Southern

District of New York, 40 Foley Square, New York, NY 10007 on February 7, 2024, at 2:30 P.M.,

why a Default Judgment ought not be entered against it and other relief as the Court deems just

and proper, pursuant to Federal Rules of Civil Procedure Rule 54(b) and 55(b), in favor of Plaintiff

Claudio Darezzo.

        IT IS FURTHER ORDERED that service of a copy of this Order and the papers upon

which it is based, must be served upon Defendant on or before January 17, 2024, and such service

shall be deemed good and sufficient service. Plaintiff’s counsel must file proof of mailing on ECF

no later than January 18, 2024.

        IT IS FURTHER ORDERED that Defendant’s opposing papers in response to this Order

to Show Cause must be filed no later than January 29, 2024. If Defendant appears in this action,

Plaintiff’s reply papers must be filed no later than February 2, 2024.

        Defendant is advised that failure to respond to the Order to Show Cause may be grounds

for the granting of a default judgment against it, in which event Defendant will have no trial.
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SO ORDERED

Dated: January 10, 2024
       New York, New York
                                         _______________________
                                           VALERIE CAPRONI
                                         United States District Judge
